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                                                                                                          Monthly Operating Report
                                                                                                                         ACCRUAL BASIS-1
CASE NAME:                 In Re: West Houston Memory Care, LLC, debtor

CASE NUMBER:               19-31485



COMPARATIVE BALANCE SHEET
                                                     SCHEDULE
                                                      AMOUNT                   June 30, 2021        July 31, 2021         August 31, 2021
ASSETS
1.   UNRESTRICTED CASH                                           $37,389                      $0                   $0                    $0
2.   RESTRICTED CASH                                                                     $95,113              $95,113               $95,113
3.   TOTAL CASH                                                  $37,389                 $95,113              $95,113               $95,113
4.   ACCOUNTS RECEIVABLE (NET)                                   $98,431                      $0                   $0                    $0
5.   INVENTORY                                                    $1,000
6.   NOTES RECEIVABLE
7.   PREPAID EXPENSES (See Note A)                                $8,990                       $0                   $0                      $0
8.   OTHER (ATTACH LIST)
9.   TOTAL CURRENT ASSETS                                       $145,811                 $95,113              $95,113               $95,113
10.  PROPERTY, PLANT & EQUIPMENT                              $4,703,664                      $0                   $0                    $0
11.  LESS: ACCUMULATED
     DEPRECIATION/DEPLETION                                                                    $0                   $0                      $0
12.  NET PROPERTY, PLANT &
     EQUIPMENT                                                $4,703,664                       $0                   $0                      $0
13.   DUE FROM INSIDERS
14.   OTHER ASSETS - NET OF
      AMORTIZATION (ATTACH LIST)                             Undetermined
15.  OTHER (ATTACH LIST)
16.  TOTAL ASSETS                                             $4,849,475                 $95,113              $95,113               $95,113
POSTPETITION LIABILITIES
17.  ACCOUNTS PAYABLE                                                                  $388,026             $388,026               $388,026
18.  TAXES PAYABLE                                                                           $0                   $0                     $0
19.  NOTES PAYABLE                                                                           $0                   $0                     $0
20.  PROFESSIONAL FEES & UST FEES                                                            $0                   $0                     $0
21.  SECURED DEBT                                                                            $0                   $0                     $0
22.  OTHER (ATTACH LIST)                                                                 $9,325               $9,325                 $9,325
23.  TOTAL POSTPETITION LIABILITIES                                                    $397,352             $397,352               $397,352
PREPETITION LIABILITIES (See Note B)
24.  SECURED DEBT                                             $8,136,088              $3,242,996           $3,242,996             $3,242,996
25.  PRIORITY DEBT                                              $282,182                $298,993             $298,993               $298,993
26.  UNSECURED DEBT                                           $4,812,101              $4,128,365           $4,128,365             $4,128,365
27.  OTHER (ATTACH LIST)
28.  TOTAL PREPETITION LIABILITIES                           $13,230,371              $7,670,354           $7,670,354             $7,670,354
29.  TOTAL LIABILITIES                                       $13,230,371              $8,067,706           $8,067,706             $8,067,706
EQUITY
30.  PREPETITION OWNERS' EQUITY               (See Note B)                           ($6,685,489)         ($6,685,489)           ($6,685,489)
31.  POSTPETITION CUMULATIVE
     PROFIT OR (LOSS)                                                                ($1,287,103)         ($1,287,103)           ($1,287,103)
32.  DIRECT CHARGES TO EQUITY
     (ATTACH EXPLANATION)
33.   TOTAL EQUITY                                                                   ($7,972,592)         ($7,972,592)           ($7,972,592)
34.   TOTAL LIABILITIES &
      OWNERS' EQUITY                                                                     $95,113              $95,113               $95,113

NOTE A: Pending court approval
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                                                                    Monthly Operating Report
                                                                                    ACCRUAL BASIS-2
CASE NAME:                  In Re: West Houston Memory Care, LLC, debtor

CASE NUMBER:                19-31485


INCOME STATEMENT                                                   June 30, 2021        July 31, 2021        August 31, 2021
REVENUES
1.    GROSS REVENUES
2.    LESS: RETURNS & DISCOUNTS
3. NET REVENUE                                                                     $0                   $0                    $0
COST OF GOODS SOLD
4.    MATERIAL
5.    DIRECT LABOR
6.    DIRECT OVERHEAD
7.    TOTAL COST OF GOODS SOLD                                                     $0                   $0                    $0
8. GROSS PROFIT                                                                    $0                   $0                    $0
OPERATING EXPENSES
9.    OFFICER / INSIDER COMPENSATION [a]
10.   SELLING & MARKETING
11.   GENERAL & ADMINISTRATIVE
12.   RENT & LEASE
13.   OTHER (ATTACH LIST)
14.   TOTAL OPERATING EXPENSES                                                     $0                   $0                    $0
15.   INCOME BEFORE NON-OPERATING INCOME &
      EXPENSE
                                                                                   $0                   $0                    $0
OTHER INCOME & EXPENSES
16.   NON-OPERATING INCOME (ATTACH LIST)                                       -                    -                     -
17.   NON-OPERATING EXPENSE (ATTACH LIST)
18.   INTEREST EXPENSE                                                             $0                   $0                    $0
19.   DEPRECIATION / DEPLETION                                                     $0                   $0                    $0
20.   AMORTIZATION
21.   OTHER (LOSS ON SALE OF ASSETS)                                               $0                   $0                    $0
22. NET OTHER INCOME & EXPENSES                                                    $0                   $0                    $0
REORGANIZATION EXPENSES
23.   PROFESSIONAL FEES                                                            $0                   $0                    $0
24.   U.S. TRUSTEE FEES                                                            $0                   $0                    $0
25.   OTHER (ATTACH LIST)
26.   TOTAL REORGANIZATION EXPENSES                                                $0                   $0                    $0
27.   INCOME TAX
28.   NET PROFIT (LOSS)                                                            $0                   $0                    $0


[a]   Includes management fees payable to TLG Family Management.
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                                                   Monthly Operating
                                                               Monthly
                                                                     Report
                                                                        Operating Report
                                                                   ACCRUAL BASIS-3
                                                                               ACCRUAL BASIS-3
CASE NAME:                 In Re: West Houston Memory Care, LLC, debtor

CASE NUMBER:               19-31485


CASH RECEIPTS AND DISBURSEMENTS                       June, 2021          July, 2021          August, 2021
1. CASH - BEGINNING OF MONTH                               $104,909             $95,114             $95,114
RECEIPTS FROM OPERATIONS
2. CASH SALES
COLLECTION OF ACCOUNTS RECEIVABLE
3.    PREPETITION
4.    POSTPETITION
5. TOTAL OPERATING RECEIPTS                                        $0                  $0                 $0
NON-OPERATING RECEIPTS
6.    LOANS & ADVANCES (ATTACH LIST)
7.    SALE OF ASSETS
8.    OTHER (ATTACH LIST)                                          $0                  $0                 $0
9.    TOTAL NON-OPERATING RECEIPTS                                 $0                  $0                 $0
10.   TOTAL RECEIPTS                                               $0                  $0                 $0
11. TOTAL CASH AVAILABLE                                   $104,909             $95,114             $95,114
OPERATING DISBURSEMENTS
12. NET PAYROLL (See Note A)
13.   PAYROLL TAXES PAID
14.   SALES, USE & OTHER TAXES PAID
15.   SECURED / RENTAL / LEASES
16.   UTILITIES
17.   INSURANCE (See Note B)
18.   INVENTORY PURCHASES
19.   VEHICLE EXPENSES
20.   TRAVEL
21.   ENTERTAINMENT
22.   REPAIRS & MAINTENANCE
23.   SUPPLIES
24.   ADVERTISING
25.   OTHER (ATTACH LIST)                                          $0                  $0                 $0
26. TOTAL OPERATING DISBURSEMENTS                                  $0                  $0                 $0
REORGANIZATION EXPENSES
27. PROFESSIONAL FEES
28.   U.S. TRUSTEE FEES                                      $9,796                    $0                 $0
29.   OTHER (ATTACH LIST)
30.   TOTAL REORGANIZATION EXPENSES                          $9,796                    $0                 $0
31.   TOTAL DISBURSEMENTS                                    $9,796                    $0                 $0
32.   NET CASH FLOW                                         ($9,796)                   $0                 $0
33.   CASH - END OF MONTH                                   $95,114             $95,114             $95,114
